USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page
                                                                   Page1 of 58
                                                                             135


 1                        UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
 2                              HAMMOND DIVISION

 3

 4

 5   United States of America

 6       vs.                                                    2:04-CR-80

 7   Charles Tanner,

 8         Defendant.

 9

10

11

12                              VOLUME III OF III

13                          TRANSCRIPT OF SENTENCING

14                      BEFORE THE HONORABLE RUDY LOZANO

15                        UNITED STATES DISTRICT JUDGE

16                               HAMMOND, INDIANA

17                                 MAY 26, 2009

18

19

20   Court Reporter:                 Richard D. Ehrlich, RMR, CRR
                                     Official Court Reporter
21                                   United States District Court
                                     5400 Federal Plaza, Suite 4082
22                                   Hammond, IN 46320
                                     (219) 852-6557
23

24   Proceedings reported by stenotype.         Transcript produced by

25   Computer-aided transcription.
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page
                                                                   Page2 of 58
                                                                             136


 1                           A P P E A R A N C E S:

 2

 3   FOR THE GOVERNMENT:

 4               David J. Nozick
                 Jacqueline L. Jacobs
 5               U.S. Attorney's Office
                 5400 Federal Plaza, Suite 1500
 6               Hammond, IN 46320
                 219-937-5500
 7

 8
     FOR THE DEFENDANT:
 9
                 Andrea E. Gambino, Esquire
10               Law Offices of Andrea E. Gambino
                 53 W. Jackson Boulevard, Suite 926
11               Chicago, IL 60604
                 (312) 322-0014
12

13               Charles Tanner, Defendant, present in person.

14

15

16

17

18

19

20

21

22

23

24

25
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page
                                                                   Page3 of 58
                                                                             137


 1               THE COURT:    Counsel, I have received from you some

 2   memorandums regarding the objections.         Did each of you receive

 3   copies of each other's memorandums?

 4               MS. GAMBINO:     Yes, Your Honor.

 5               MR. NOZICK:    Yes, Your Honor.

 6               THE COURT:    I believe, Counsel, the way we left this

 7   case is that we were going to proceed today with the Court

 8   giving rulings on all of the objections without further arguing

 9   of any kind.     I think we've argued it orally.        We've argued it

10   in writing.     We've argued it in writing over and over again.          I

11   was under the belief that I was not going to give you any

12   additional time to argue what sentence I would give.

13         Ms. Gambino, today you convinced me that you wanted some

14   time, and I think we did talk about that at the last

15   sentencing, and I believe I said 20 minutes.          But, again,

16   Ms. Gambino, you convinced me to make that a half an hour, and

17   I have given you and the Government a half an hour.

18               MS. GAMBINO:     Thank you, Judge.

19               THE COURT:    Is that true and is that agreeable?

20               MS. GAMBINO:     That's true.

21               MR. NOZICK:    Yes, Your Honor.

22               THE COURT:    Okay.   I will also say that I expect,

23   because of the seriousness of this case, for everybody in the

24   audience to act as ladies and gentlemen.          If I start getting

25   too many improper comments or sighs or whatever, I will remove
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page
                                                                   Page4 of 58
                                                                             138


 1   you from the courtroom.       I hope that's not necessary.       In

 2   fairness to Mr. Tanner, I would like to have him to be able to

 3   be heard and not have interruptions.

 4         Ms. Gambino, the one thing that I don't remember agreeing

 5   or not agreeing with you is Mr. Tanner's right to be heard.

 6   Does he wish to be heard today?

 7               MS. GAMBINO:     Yes, he does, Your Honor.

 8               THE COURT:    Okay.   And how long is that going to

 9   take?

10               MS. GAMBINO:     Your Honor, it probably won't take much

11   more than 15 or 20 minutes.

12               THE COURT:    15, 20 minutes?

13               MS. GAMBINO:     Right.

14               THE COURT:    Ms. Gambino, in fairness to Mr. Tanner,

15   you're going to have to speak up.         One, I'm getting older, and

16   it's harder for me to hear, but I want the court reporter to

17   take the testimony down, and it's important for you to be

18   heard.    Okay?

19               MS. GAMBINO:     I will, Your Honor.

20               THE COURT:    Okay.   Mr. Nozick, I'm not going to say

21   anything to you because I always am able to hear you.

22               MR. NOZICK:    Yes, Your Honor.

23               THE COURT:    Is Ms. Jacobs going to be speaking today?

24               MS. JACOBS:    No, Your Honor.

25               THE COURT:    This is the case of the United States of
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page
                                                                   Page5 of 58
                                                                             139


 1   America vs. Charles Tanner.       Hammond Criminal Number

 2     2:04-CR-80.

 3         The defendant is present in person and with his attorney,

 4   Andrea Gambino.

 5         The Government is represented by its Assistant United

 6   States Attorneys, David Nozick and Jackie Jacobs.

 7         The Court's probation office is represented by its

 8   probation officer, Ms. Paula Pramuk.

 9         Mr. Tanner, on the 6th day of November of the year 2006,

10   the Court accepted your plea of guilty to Counts II and III of

11   the superceding indictment and reserved its decision as to

12   whether to accept -- Counsel, there's been so many different

13   continuances.     Was there a plea agreement in this case?

14               MR. NOZICK:    Your Honor, this was a trial.

15               MS. GAMBINO:     This was a jury verdict, Your Honor.

16               MR. NOZICK:    This was a jury verdict.

17               THE COURT:    Okay.   Let me back up then.      Let me get

18   the -- on the 6th day of November of the year 2006, a jury

19   returned a verdict finding you guilty of Counts II and III.             I

20   do not see that this is a superceding indictment; is that

21   correct?

22               MR. NOZICK:    I'm trying to recall if there was an

23   initial indictment or superceding.         Let me check.    I believe

24   there was a second indictment.        So I believe it would have been

25   a superceding indictment, Judge.        I believe it's a superceding
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page
                                                                   Page6 of 58
                                                                             140


 1   indictment, Judge.

 2               THE COURT:    Because that's what I had in my dialogue,

 3   but I don't see that in the presentence report.

 4         Ms. Gambino, do you agree this was a superceding

 5   indictment?

 6               MS. GAMBINO:     Yes, Your Honor, it was a superceding

 7   indictment.

 8               THE COURT:    Okay.   The jury returned a verdict

 9   finding you guilty of Counts II and III of the superceding

10   indictment in this case, and this Court adjudged you guilty of

11   those offenses.

12         On the 14th day of August of the year 2007, I received a

13   written presentence report together with an addendum setting

14   forth any objections counsel have made that have to be resolved

15   together with the probation officer's comments therein from the

16   probation office, and I have studied that report and the

17   addendum.

18         Again, on the 27th day of March of the year 2009, I

19   received a second version of the presentence report, and that

20   is the one that I am going to be using today.           At any rate, on

21   the 27th day of March of the year 2009, I received a written

22   presentence report together with an addendum setting forth any

23   objections counsel have made that have to be resolved together

24   with the probation officer's comments therein from the

25   probation office, and I have studied that report and the
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page
                                                                   Page7 of 58
                                                                             141


 1   addendum.

 2         Counsel, do both of you agree that the ones that we're

 3   going to be going by is the one dated 27 March?

 4               MS. GAMBINO:     That's correct, Judge.      That's the most

 5   recent.

 6               MR. NOZICK:    That's correct, Judge.

 7               THE COURT:    Counsel, I have also received numerous

 8   letters from relatives, friends, coworkers.          We had testimony

 9   here in court from relatives, friends, and coworkers.            The

10   testimony part is no problem.        That's preserved because it's

11   part of the record.

12         In the event that I have not said it before, any objection

13   to making all these letters that we have part of the record in

14   this case?

15               MS. GAMBINO:     No, Your Honor.     They should all be

16   made part of the record.

17               THE COURT:    Pardon?

18               MS. GAMBINO:     They should all be made part of the

19   record, Your Honor.

20               THE COURT:    Bring that microphone closer to you.

21   There you go.     Any objection to that?

22               MR. NOZICK:    No objection.

23               THE COURT:    It is so ordered.

24         Ms. Gambino, did both you and your client receive and

25   review a copy of the presentence investigation report and the
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page
                                                                   Page8 of 58
                                                                             142


 1   addendum setting forth any objection counsel have made that

 2   have to be resolved at this hearing before a sentencing

 3   hearing?

 4               MS. GAMBINO:     Yes.

 5               THE COURT:    Mr. Tanner, did you receive and review a

 6   copy of the presentence investigation report with the addendum

 7   and go over its contents with your attorney prior to today?

 8               THE DEFENDANT:     Yes.

 9               THE COURT:    And, Mr. Nozick and Ms. Jacobs, did you

10   receive and review a copy of the presentence investigation

11   report with the addendum prepared by the probation office?

12               MR. NOZICK:    Yes, Your Honor.

13               THE COURT:    Ms. Gambino and Mr. Nozick, do either of

14   you have any requests for any additions, changes, or

15   modifications?

16               MS. GAMBINO:     Not other than the ones we've submitted

17   in writing, Your Honor.

18               THE COURT:    And I've ruled on some of them.        I

19   disallowed and I gave you a ruling on it and a reason for it;

20   is that correct?

21               MS. GAMBINO:     I believe so, yes.

22               MR. NOZICK:    Nothing to add, Judge.

23               THE COURT:    The presentence investigation report and

24   the addendum are now placed in the record under seal.            It is

25   directed that if an appeal is taken, counsel on appeal shall be
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page
                                                                   Page9 of 58
                                                                             143


 1   permitted access to the sealed report.         It is further directed

 2   that counsel on appeal are not permitted access to the

 3   recommendation section of that report.

 4         Ms. Gambino, I think some of the objections were not

 5   timely, and I think I did give you an order in writing

 6   regarding that matter, and I want to say that one of those was

 7   dated March 9th of the year 2008.         I have it here.

 8         Counsel, from a review of the presentence investigation

 9   report, I see that there are three objections that we are

10   dealing with.     One, the drug quantity assessed against

11   Mr. Tanner in the presentence investigation report that is over

12   150 kilograms of cocaine; two, the gun enhancement in the

13   presentence investigation report, and; three, the role

14   enhancement in the presentence investigation report, i.e., was

15   he a leader of an organization of five or more participants; is

16   that correct?

17               MS. GAMBINO:     Those are the primary objections, yes,

18   Your Honor.

19               MR. NOZICK:    Yes, Judge.     I think they're the only

20   objections.

21               THE COURT:    These are the only ones that I allowed;

22   is that correct?

23               MS. GAMBINO:     That's correct.

24               THE COURT:    Okay.   The Court adopts the factual

25   statements contained in the presentence investigation report as
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 10 of 58
                                                                    Page     144


 1    to which there are no objections.        As to the controverted

 2    factual statements, the Court will rule on those in a minute.

 3    I've already held hearings with regards to all of those.

 4          The defendant objects to the drug quantity assessed

 5    against him in the presentence investigation report as not

 6    being supported by the evidence at trial.         After having heard

 7    the evidence in the case, after having reviewed the objections

 8    and the comments of counsel, having considered the law, and

 9    after having considered the credibility of the witnesses, this

10    Court finds the following facts by a preponderance of the

11    evidence:    First, that Arthia Lamont Tanner, Charles Tanner,

12    LaShawn Tanner, Lance Foster, and Warren Moore, were all

13    working together as part of The Renegades, a drug trafficking

14    organization, that they bought and distributed drugs including

15    cocaine, cocaine based, and marijuana in furtherance of The

16    Renegades jointly undertaken plan to distribute drugs, and that

17    the amount of drugs they bought and sold was reasonably

18    foreseeable to Charles Tanner.

19          Second, that Charles Tanner, Arthia Lamont Tanner, LaShawn

20    Tanner, and Warren Moore were all dealing cocaine and crack

21    cocaine at least as of 1999 and continuing through September of

22    the year 2004; that this activity was reasonably foreseeable to

23    Charles Tanner and in furtherance of The Renegades jointly

24    undertaken plan.     In this regard, this Court credits Solise's

25    testimony that he began selling marijuana to Charles Tanner,
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 11 of 58
                                                                    Page     145


 1    and Charles Tanner began distributing it as early as 1997; that

 2    he sold cocaine and marijuana to Moore beginning in 1997; that

 3    he sold cocaine to all three Tanner brothers by late 1990.

 4    This Court also credits Warren Moore's testimony that he was

 5    buying 1/8th half and whole kilograms quantity of cocaine from

 6    Solis in 1997; and that he, Charles Tanner, Lance Foster,

 7    Lamont Tanner, and LaShawn Tanner, were all dealing cocaine and

 8    crack cocaine by 1999.

 9          Third, that Arthia Lamont Tanner, LaShawn Tanner, and

10    Warren Moore bought over 100 kilograms of cocaine in

11    furtherance of The Renegades jointly undertaken plan to

12    distribute drugs, and that this activity was reasonably

13    foreseeable to Charles Tanner.       In this regard, the Court

14    credits Solis's testimony that he sold over 100 kilograms of

15    cocaine to Lamont and LaShawn Tanner and sometimes in the

16    presence of Charles Tanner, and that he sold anywhere from four

17    one-half ounces to multiple kilograms cocaine to Warren Moore.

18    This Court also credits Warren Moore's testimony that he bought

19    cocaine from Solis more than 20 times, and that he bought

20    cocaine from Lamont Tanner in the 1/8th of a kilogram or ounce

21    quantities more than 100 times.       This Court also credits Warren

22    Moore's testimony that he personally saw drugs and money change

23    hands between the Tanner brothers.

24          Fourth, that Charles Tanner alone sold more than

25    150 kilograms of cocaine.      In this regard, the Court credits
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 12 of 58
                                                                    Page     146


 1    Solis's testimony that Charles Tanner told him that he sold

 2    50 kilograms of cocaine a week from the year 2000 through 2004,

 3    and Warren Moore's testimony that Charles Tanner sold him

 4    cocaine on about six occasions totaling over at least

 5    two-and-a-half kilograms of cocaine.

 6          Fifth, that Charles Tanner bought over 150 kilograms of

 7    cocaine.    In this regard, the Court credits Solis's testimony

 8    that on five occasions he sold multiple kilograms of cocaine to

 9    Charles Tanner; that Charles Tanner bought 15 kilograms of sham

10    cocaine from him; that Charles Tanner bought 100 kilograms of

11    cocaine from a Hispanic supplier from Berwin, Illinois; and

12    that Charles Tanner was buying about 50 kilograms of cocaine a

13    week from a supplier in Berwin, Illinois.         Further, the Court

14    credits Agent Allen's testimony that Charles Tanner admitted to

15    purchasing 10 to 15 kilograms of cocaine at a time from Renee,

16    or "Puppy"; that Charles Tanner admitted to receiving multiple

17    kilograms of cocaine at a time from Rocky Martinez.           Although

18    not part of the presentence investigation report, the Court

19    knows that a significant amount of cocaine was also sold by The

20    Renegades.

21          After having heard the evidence of the case, having

22    reviewed the objections and comments of counsel, and having

23    considered the law, and after having considered the credibility

24    of witnesses, this Court finds by a preponderance of the

25    evidence that Charles Tanner possessed guns during the course
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 13 of 58
                                                                    Page     147


 1    of the conspiracy.     In this regard, the Court credits Warren

 2    Moore's and Solis's testimony that Charles Tanner possessed

 3    guns during the course of the conspiracy; that Charles Tanner

 4    had a gun at his mother's house, and that The Renegades bought

 5    and sold drugs there, and that Charles Tanner had a gun at his

 6    house in Chicago where he sold drugs and kept drugs and kept

 7    the drug money.     This Court also notes that there is no

 8    evidence indicating that it is clearly improbable that Tanner's

 9    possession of these guns was connected to his drug dealing

10    activity.

11          After having heard all of the evidence of the case, having

12    reviewed the objections and comments of counsel, having

13    considered the law, and after having considered the credibility

14    of the witnesses, this Court finds the following facts by a

15    preponderance of the evidence:       First, that Charles Tanner was

16    an organizer or leader of The Renegades beginning in about 2000

17    to 2001.    In this regard, the Court credits Warren Moore's

18    testimony that beginning in about 2000 or 2001, Charles Tanner

19    was the leader of The Renegades.        Charles Tanner was the leader

20    of The Renegades -- I'm sorry.       That the same person was not

21    always in charge, but the power shifted to the Tanner brother

22    who had the most money, and that early on LaShawn Tanner was

23    the leader, but Lamont Tanner took over, and then the power

24    shifted to Charles Tanner.

25          And, second, that The Renegades had five or more members,
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 14 of 58
                                                                    Page     148


 1    members of The Renegades, including Warren Moore, Don Moore,

 2    Charles Tanner, Lance Foster, Arthia Tanner, Lashawn Tanner,

 3    Larry Scott, Leon Walker, Brandon Roy, Letrial Thomas, and

 4    Clarence Curick.     With regard to each of these objections, the

 5    Court finds in favor of the probation department and the

 6    Government.

 7          Counsel, have I ruled on the objections that we have

 8    before us?

 9                MS. GAMBINO:    You have ruled on the objections.

10                MR. NOZICK:    Yes, Your Honor.

11                THE COURT:    The Court thus determines that the

12    applicable guidelines are Total Offense Level 44, Criminal

13    History Category 1, calling for life imprisonment; 5 years

14    supervised release, $25,000 to 8 million-dollar fine plus cost

15    of imprisonment and/or supervision, and a $200 special

16    assessment.

17          Ms. Gambino, as attorney for the defendant, do you have

18    anything to say on the defendant's behalf before sentencing?

19                MS. GAMBINO:    Yes, I do.

20                THE COURT:    Okay.   I'm going to ask you if you'll

21    come to the podium and set yourself up there so that hopefully

22    you can speak closer to the microphone so I can hear you.

23                MS. GAMBINO:    First of all, Your Honor, with respect

24    to the rulings, we understand that you have ruled.           We do, of

25    course, object to each and every one of those rulings and
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 15 of 58
                                                                    Page     149


 1    disagree strongly with the factual findings of the Court.

 2          The question then becomes what is the reasonable sentence

 3    for Mr. Tanner, and it is our position that the reasonable

 4    sentence is not represented by the guidelines.          In this

 5    particular case, we are talking about the most serious

 6    sentence --

 7                THE COURT:    Ms. Gambino, I know I only gave you a

 8    half an hour, but I did give you an opportunity to brief it.

 9    You're going to have to slow down, but you're not going to have

10    much of a record if you start picking up speed.

11                MS. GAMBINO:    Okay.   I will go through this very

12    slowly.

13                THE COURT:    I mean that in a courteous way.       I'm not

14    trying to speak down to you.

15                MS. GAMBINO:    A life sentence in this case, a life

16    sentence is the most serious sentence that's available apart

17    from the death penalty, which is never a question in this case

18    and which is very rarely imposed, and a life sentence is what

19    we, as a society, reserve for those people who commit the most

20    heinous crimes.     And what we are talking about here is not a

21    case which, like many come before this Court, involve violence,

22    involves murder, involves death, involves anything of that

23    nature.   We are talking also about a person who has never been

24    in trouble with the law before.       Charles Tanner's record was

25    clear up until the point of this offense, and the reason it was
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 16 of 58
                                                                    Page     150


 1    clear is that Mr. Charles Tanner is not a drug dealer.           He is a

 2    boxer.   Mr. Charles Tanner began boxing as a child, as you

 3    heard from many witnesses, at the age of 10, actually before

 4    that, and had a stellar amateur record.         When other people were

 5    out doing whatever they were doing in 1999 through 2004,

 6    Mr. Tanner was a professional boxer.        And we heard from many

 7    witnesses about the rigorous training that a professional boxer

 8    must go through in order to maintain his edge and be able to

 9    fight in the way that Mr. Tanner fought.

10          Now, Your Honor asked about the authority of the Court to

11    give a sentence that's not a guideline sentence, and I think we

12    should start there.     The United States Supreme Court in Nelson

13    vs. The United States, a case started in January, has sent down

14    on three different occasions a case where the stakes were

15    similar, 360 to life for this young man because the Court kept

16    continually finding that the guideline sentence was

17    presumptively reasonable.      That is not the case.      Guidelines

18    are advisory and not mandatory or presumed to be reasonable.

19          In addition, the Seventh Circuit Court of Appeals has, on

20    many occasions, upheld the Court when it drastically departed

21    from a guideline sentence.       For instance, in the case of United

22    States vs. Angottia, the guideline range was 188 to 235 months.

23    The Court imposed an 84-month sentence, and that was upheld by

24    the Seventh Circuit Court of Appeals.

25          In the case of Paladino, the Court imposed a 180-month
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 17 of 58
                                                                    Page     151


 1    sentence where the guidelines were --

 2                THE COURT:    Ms. Gambino, just so that I'm clear,

 3    these are not my cases.      These are a Court?

 4                MS. GAMBINO:    These are the Seventh Circuit Court of

 5    Appeals to whom you are responsible, Your Honor, who has said

 6    that you --

 7                THE COURT:    I'm not asking you that, Ms. Gambino.

 8    All I'm saying is it was not my case that went through?

 9                MS. GAMBINO:    No.   No.   This was not your case.

10                THE COURT:    At some point you're talking about my

11    cases, and then you're jumping, you know, you're talking

12    about --

13                MS. GAMBINO:    I am talking about the authority that

14    you have, Your Honor, based on the Supreme Court and the

15    Seventh Circuit Court of Appeals and the responsibility to not

16    only look at what the guidelines are but to look at factors

17    outside the guidelines and to determine what the appropriate

18    sentence is.

19          In this case, so I can be very clear, the mandatory

20    minimum is ten years, and that is what we are asking the Court

21    to impose.    We think that a life sentence is completely

22    unreasonable, and Congress requires that the sentence

23    imposed --

24                THE COURT:    I'm sorry.    Go ahead.

25                MS. GAMBINO:    I'm sorry, Your Honor.      You were
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 18 of 58
                                                                    Page     152


 1    looking at your watch.

 2                THE COURT:    No, no.   I was looking at something else

 3    right now, Ms. Gambino.

 4                MS. GAMBINO:    Charles Tanner gained the faith of a

 5    series of investors, lawyers, doctors, and other trainers who

 6    were so willing to put their faith in him that they paid for

 7    his education at a Catholic high school so that he could go to

 8    school, get an education, and continue his boxing career.            And

 9    Your Honor saw the kind of grades and the comments that

10    Mr. Tanner got when he was in high school during a part of the

11    time when this conspiracy was alleged, and Your Honor heard

12    from lawyers and professionals who were willing to support and

13    did support Mr. Tanner in his professional boxing career.            But

14    beyond his talent as a boxer, you have heard from a courtroom

15    full of people, and we could keep this Court going for days,

16    for hours, for even a year I would imagine to say of people

17    that are describing the good things, the positive things about

18    Mr. Charles Tanner.

19          When you're trying to decide what is appropriate in this

20    case, you have to look at the personal history and

21    characteristics of Mr. Tanner; a person who is a very young man

22    at this point still at the age of 28.        If Your Honor were to

23    impose a sentence of the mandatory minimum of ten years, Mr.

24    Tanner would still be able to be released to be a father to his

25    son, to retain his career, and to go on and do other positive
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 19 of 58
                                                                    Page     153


 1    things with respect to his life.        He is not the kind of person,

 2    the incorrigible reoffender who has to be sent to jail for the

 3    rest of his life to keep the rest of us safe or to teach him a

 4    lesson.    What happened in this case simply doesn't rise to that

 5    level.    We are talking about evidence at trial that involved 15

 6    sham kilograms of cocaine.

 7          Now, we know that Mr. Tanner wasn't the leader and the

 8    organizer.    If he were he wouldn't have been there to pick up

 9    those 15 sham kilograms from Mr. Solis who had tried for months

10    to get him to do something, and not only did he supposedly buy

11    sham kilograms of cocaine but had no money to pay for them.

12          If Mr. Tanner was what is alleged by Warren Moore and

13    Erbey Solis, certainly he wouldn't have been present, and he

14    would've had more than enough money to pay for what he had.

15          No money, no weapons, and no drugs were found on his

16    person, in his house, in his car.        Your Honor has had to rely

17    on the hearsay evidence of Mr. Erbey Solis and Mr. Warren Moore

18    in order to find that he's responsible for these things;

19    rather, you heard from witnesses here who testified about him,

20    Mr. Tanner, being the first male of his family to finish high

21    school and to start college.       You heard about his discipline.

22    You heard about Earl Bell talk about what he had to do to

23    prepare to be a boxer.      You heard about his generosity, and the

24    fact that he brought himself and his followers, Your Honor, to

25    the church, and you heard from his pastor and the other
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 20 of 58
                                                                    Page     154


 1    individuals who were involved in the church.          You heard about

 2    his willingness to help others to lead his family and other

 3    people on a positive path and not in a negative path; that he

 4    was willing to give the shirt off his back to anyone who needed

 5    it; that he provided training and equipment and support to

 6    other young people in the community at the Gary PAL police gym

 7    where he trained himself.      He helped other people to get

 8    involved in boxing.      He supported Don Moore and his effort to

 9    get involved in boxing.      You have heard nothing but positive

10    things about the character and the history and the personal

11    characteristics of Charles Tanner.        There is no evidence in

12    this case or anywhere else where he has been involved in

13    violence, where he has been involved in --

14                THE COURT:    I'm sorry.    I didn't hear that.     I wasn't

15    sure what the last word was.       I understand what you're saying,

16    "Violence."

17                MS. GAMBINO:    Violence.    No violence.    There is

18    nobody that came into this courtroom and said, "We found a gun

19    in Mr. Tanner's possession."

20          When you refer to the guns that were found at Mr. Tanner's

21    mother's house in 1999, the testimony at trial from the police

22    officers was that this was on New Year's Eve, that they

23    couldn't identify who these guns belonged to, and they didn't

24    even identify whether or not Mr. Tanner was present.           Mr.

25    Tanner is simply not the kind of person who needs to be put
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 21 of 58
                                                                    Page     155


 1    away for the rest of his life.

 2          Your Honor also has to consider the case of just

 3    punishment; just punishment with respect to the 3553(a)

 4    factors.    Your Honor, one of the things that you have to

 5    consider is what is just punishment in this case.          And just

 6    punishment does not mean the highest punishment possible.            Just

 7    punishment means considering the individual and the offense.

 8    And even our now attorney general, Mr. Holder, has said justice

 9    is not about winning, it's about doing the right thing.           And

10    doing the right thing in this case is not to send this man off

11    to prison for life.     And we know that, too, Your Honor, because

12    the last time we were here, the Government came in and said

13    they were willing to recommend a sentence of 25 years for

14    Mr. Tanner.    Even a sentence of 25 years, Your Honor, is beyond

15    what is necessary in this particular case.         When a person

16    commits a first offense, you don't throw the book at them and

17    take away their life.      When a child commits a first error, you

18    don't send him to jail.      When people commit first offenses, the

19    law and society and reason say that the response should be

20    measured and should not be severe.

21          With respect to deterrence.       You do not need to send

22    Mr. Tanner to prison for another day to deter him from ever

23    becoming involved with anyone or anything that is even remotely

24    illegal.    He has never, before this case, spent a day in jail.

25    He doesn't even have an arrest record.         The only thing on
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 22 of 58
                                                                    Page     156


 1    Mr. Tanner's record was a disorderly arrest that was disposed

 2    of as a juvenile.     You know, he is not a person who is a repeat

 3    offender because he is not a person who is out there on the

 4    regular engaging in illegal activity.

 5          You have to consider whether we need to protect the public

 6    from this defendant, and the public does not need to be

 7    protected from Mr. Tanner.       Mr. Tanner is an honor and a role

 8    model and a positive, contributing member of his community.            He

 9    has done many, many things to help countless numbers of people,

10    and he's worked his way out of poverty and out of a difficult

11    environment and was on his way out, and he was bringing others

12    with him.    You do not need to send him to jail for another day

13    to protect the public from him; rather, I think the public

14    would benefit from his example saying, "Look.          This is what

15    happened to me.     Don't make the same mistakes.       Don't get

16    involved in this kind of thing in any way, shape, or form, and

17    do the right thing."

18          He will continue on the positive path that he started out

19    on many, many years ago, and you heard that from every witness

20    that testified in front of this Court.

21          You have to consider about unwarranted sentencing

22    disparities.

23                THE COURT:    I'm sorry?

24                MS. GAMBINO:    Unwarranted sentencing disparities.

25          In this particular case, the two individuals who were
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 23 of 58
                                                                    Page     157


 1    providing testimony, Mr. Warren Moore, for instance, he will be

 2    released from prison next September, and Mr. Warren Moore was

 3    caught dead to rights with real cocaine and real weapons, and

 4    Mr. Erbey Solis, also another person on whose word you had to

 5    rely in order to make your sentencing findings, is another who

 6    was caught dead to rights with drugs and with weapons.           That is

 7    not the same.    And those were real drugs and real weapons and

 8    not some fake drugs that were made up to get somebody in

 9    trouble who shouldn't have been gotten in trouble, and

10    Mr. Solis --

11                THE COURT:    The jury didn't find that, did they,

12    Ms. Gambino?

13                MS. GAMBINO:    The jury didn't receive testimony that

14    supports nearly what you have made your findings based on, Your

15    Honor.   The jury heard from Mr. Moore, for example, that he did

16    a half kilo to one kilo transaction of cocaine and marijuana in

17    2003 and 2004.     That's in Volume II, page 531, and pages 580 to

18    583 of the trial transcript.       Solis testified about the 15 sham

19    kilograms at trial, but he only remembered three prior

20    transactions and couldn't remember the amounts at all at trial;

21    Volume IV, 219 to 220.      He only remembered a one kilo deal at

22    trial.   Volume IV, page 1,013.

23          All the other information in the PSI is based on proffer

24    statements that were not testified to under oath but were

25    things made up by those individuals to persuade the Government
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 24 of 58
                                                                    Page     158


 1    that they would be good witnesses and to get themselves out

 2    from under the problems that they faced because they were

 3    caught with real drugs and real guns.

 4          So that evidence didn't get before the Court, didn't get

 5    before the jury.     The jury convicted Mr. Tanner of the 15 sham

 6    kilograms and of being a member of a conspiracy.

 7                THE COURT:    For that they got to see a video, didn't

 8    they, for him reaching for the cooler of 15, alleged 15 --

 9                MS. GAMBINO:    15 sham kilograms.     Any real drug

10    dealer wouldn't have just taken a cooler full of drugs without

11    testing or looking to see if they were real.          Any real drug

12    dealer wouldn't have conducted his business in the open

13    Walgreens parking lot.      Any real drug dealer that was dealing

14    150 kilograms or more of cocaine would've sent some other

15    person to do that deal.

16                THE COURT:    The jury didn't find that, did they?

17                MS. GAMBINO:    The jury found that he was guilty of 15

18    sham kilograms, Your Honor, not over 150.         They didn't hear

19    evidence of over 150 kilograms of cocaine.

20                THE COURT:    My point being is that the jury didn't

21    disregard the reaching for the 15 kilograms of you say sham

22    cocaine?

23                MS. GAMBINO:    That's correct, Your Honor.

24                THE COURT:    He thought it was cocaine, but the police

25    said that it was sham at the point.
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 25 of 58
                                                                    Page     159


 1                MS. GAMBINO:    We don't know what he thought because

 2    he didn't testify at trial, and he has maintained his innocence

 3    of this offense from the very beginning and does to this day.

 4    And certainly nothing at trial amounted to the 150 kilograms or

 5    more that was put in these proffer statements that were given

 6    for the Government's purpose and was not testified to at trial

 7    and under oath.

 8          And Mr. Moore, as we know, had his own reasons for doing

 9    this.   He was worried about his family.        He wrote to a fellow

10    boxer, Damon, and he says, "Let me tell you:          These Feds aren't

11    playing around.     They want me to testify against Duke and the

12    rest of the people on the case to get a better sentence.            We

13    are facing ten years to life, so I got -- they messed up, not

14    me.   They played a phone call to me where they had me telling

15    Nickie," his girlfriend, "to bring me something from the house.

16    And I was like, "Okay.      You all got me."     Because they were

17    going to lock Nickie up and take our children, and I couldn't

18    let that happen.     So I told -- do what they want me to do.         I

19    had to do it for my family.       They mean a lot to me.      I hope you

20    understand.    I'm not a snitch, but I had to do it for my

21    family."

22          I mean, this is a man who had his own reasons for saying

23    the things that he said.      He also said in a letter to the same

24    Damon on April 8th of 2005, "I set Erbey, and Erbey set Duke

25    up, and the reason everybody is mad at me" --
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 26 of 58
                                                                    Page     160


 1                THE COURT:    Ms. Gambino, you're picking up speed on

 2    me.   Slow down.

 3                MS. GAMBINO:    "The reason everybody is mad at me is I

 4    set Lee and about 30 more people up.        I had to.    It's what the

 5    Feds wanted, to get Nickie's name out of it, and they were

 6    going to have my kids taken by DCF.        Duke and them never did

 7    anything for Don while he's been locked up, so what makes me

 8    think they would do something for me?        They played hardball and

 9    got hit.    I think Jody was an informant, too, if I'm not

10    mistaken.    It was very hard for me to do it to them, and I

11    cried a lot of nights about it.       It still hurts, but I had to

12    do it or let my wife to suffer in jail with me and my children

13    get taken."

14          You know, this is a man who was saying whatever he thought

15    he had to say in order to save himself, his wife, and his

16    children.

17          In comparison to Mr. Tanner, who isn't the kind of person

18    who is doing things that he needs to save his wife, his family,

19    and his children.     He has a young son, a young son that he

20    admits is his son, who is doing well in school and misses him

21    very much.

22          Now, Mr. Warren Moore, on the other hand, testified that

23    he has two children, but you heard from Ms. Ezell that he and

24    her daughter, the woman who ended up dead after he came to her

25    house with a gun, had a child that he denies.
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 27 of 58
                                                                    Page     161


 1          We're talking about two very different kinds of people.

 2    And when you're talking about sentencing disparities, Your

 3    Honor, it turns the whole concept of justice on its head to

 4    have Mr. Warren Moore be released from prison in September of

 5    2010 while Mr. Tanner is standing here facing a life sentence.

 6          You also have to consider whether he will get educational,

 7    vocational training and whether his medical needs will be met.

 8    And Mr. Tanner, as we sit here today, is suffering from

 9    problems, dental problems which they are not addressing in the

10    county jail.    He needs a root canal, and they don't want to

11    give it to him.     All they want to do is pull his tooth.        He's

12    been in this county jail for almost five years now.           During

13    that time he has not been able to hold his son or even see any

14    of his family members face to face, only minimally between

15    glass or over the television.        This is a serious deprivation.

16    This is something that has brought home to him the harshness

17    and the reality of what his current situation is.          You don't

18    need to ask him to spend another -- tell him he has to spend

19    another day in prison to teach him that he's not going to come

20    anywhere near anyone who is doing anything illegal for the rest

21    of his life.

22          And, Your Honor, a final word with respect to sentencing

23    disparities.    The highest sentence in the case so far is 20

24    years.

25                THE COURT:    Hold on.   Arthia Lamont Tanner, 240
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 28 of 58
                                                                    Page     162


 1    months.

 2                MS. GAMBINO:    That's correct.     And that's the highest

 3    sentence imposed --

 4                THE COURT:    But that's the maximum that he could have

 5    gotten on the count that he pled to.        That was a plea

 6    agreement.

 7                MS. GAMBINO:    That's a plea agreement, and that's the

 8    highest sentence that has been imposed in this case.

 9                THE COURT:    That's the highest that he could've

10    gotten by law.

11                MS. GAMBINO:    And what we're asking you to do is give

12    Mr. Tanner the lowest sentence that he can get by law, which is

13    ten years because that sentence is more than sufficient to

14    address all the purposes of sentencing, and because we know

15    that even the Government doesn't think that the life sentence

16    called for by the guidelines is a reasonable sentence because

17    they were in here asking for 25 years.         They weren't willing to

18    put that on record.      They had it in an off-the-record

19    conversation.    So even they don't think --

20                THE COURT:    Ms. Gambino, let's set the record

21    straight on that.     Mr. Nozick came in and said, "I want to

22    apprize the Court that the Government is going to be asking for

23    25 years," and indicated that that was from downstairs, what he

24    was told to do.

25                MS. GAMBINO:    Exactly, which means that they
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 29 of 58
                                                                    Page     163


 1    recognize --

 2                THE COURT:    Let me finish, Ms. Gambino.      I've been

 3    letting you finish.

 4          I asked both of you to tell me what sentences you thought

 5    were fair and why.     Mr. Nozick then filed a memorandum to the

 6    Court saying after reviewing all of the facts of the case, he

 7    felt that life was fair.

 8                MS. GAMBINO:    That was because he didn't want to have

 9    to put that on the record, Your Honor.

10                THE COURT:    He did put it on the record.

11                MS. GAMBINO:    He did.   When you told him he had to

12    put something on the record, then he went back and all of a

13    sudden the 25 years goes away and we're back to life again.

14                THE COURT:    Ms. Gambino, on every case that I have I

15    ask the attorney what sentence they think is fair.           That's what

16    I'm doing with you right now, and they do it on the record.

17                MS. GAMBINO:    That's correct, Your Honor.       When

18    somebody is willing to come to you and say off the record, "We

19    think 25 years is fair," and then you say, "Put that on the

20    record," and they come back to you with life again, what does

21    that say?

22                THE COURT:    He didn't say that.     He said, "I am going

23    to be asking for that," and indicated they came from

24    downstairs.

25                MS. GAMBINO:    Right, because that is what they
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 30 of 58
                                                                    Page     164


 1    thought was reasonable a few weeks ago.

 2                THE COURT:    He didn't make those comments.       He just

 3    said that that's what he was going to do.

 4          Ms. Gambino, don't add to it.       That's not what he said.

 5                MS. GAMBINO:    Your Honor, I'm not saying that's what

 6    he said, but he wouldn't be in the position of saying, "I'm

 7    going to recommend 25 years" if somebody didn't think that was

 8    a reasonable sentence.      That's a reasonable inference, Your

 9    Honor.

10                THE COURT:    Ms. Gambino, I have no idea why or what

11    makes the U.S. Attorney's office tick.         I've been trying to do

12    that for 20-some years now, and I haven't been able to figure

13    that out.    I do know that oftentimes the upper echelon of the

14    office downstairs changes opinions as to what they feel they're

15    going to be asking for.      Sometimes there may be pressure coming

16    from the Justice Department in Washington.         I don't know why or

17    what or who was involved, and I don't know that I can make

18    these jumps that you very easily make.

19                MS. GAMBINO:    Your Honor, whether we make jumps or we

20    don't make jumps, what we're here to talk about is this man's

21    life.

22                THE COURT:    And I'm listening to you.      I am listening

23    to you on that, Ms. Gambino, but what I'm saying is that when

24    you say, "He said that's what he felt was fair," he's going to

25    get up in a minute now.      I'll find out what he's going to say
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 31 of 58
                                                                    Page     165


 1    what he thinks is fair and why.       But I don't think that it's

 2    fair to say that's what he said.        That wasn't what he said.

 3                MS. GAMBINO:    I think it's completely fair to say

 4    that what he said was, "We're going to recommend 25 years,"

 5    Your Honor.    And I'm saying that if that's what he's saying,

 6    then it looks like that's what they think is reasonable.

 7    That's my opinion, and that's what anybody can take from it.

 8                THE COURT:    That's different.     You have every right

 9    to say what you think is reasonable, and I'll listen to that.

10                MS. GAMBINO:    And even that, Your Honor, the 25 years

11    I don't think is reasonable.       In this particular case, 10 years

12    and not a day more is what is reasonable for Mr. Tanner.

13          The other thing that you need to think about, or that

14    Congress says you have to think about, is restitution.           What

15    better restitution for Mr. Tanner then to let him work in his

16    community and tell young people how to avoid mistakes that he

17    made that landed him in this particular situation.           You know,

18    you have heard from a great constellation of people, not just

19    his friends, not just his family, not just his coworkers, but

20    his pastor and individuals who were professionals, lawyers, and

21    others who had faith in him and supported him.

22                THE COURT:    As a boxer and as an individual.

23                MS. GAMBINO:    As an individual human being and as a

24    boxer.   And all of those people are in place, many of them

25    here, and they are ready to continue supporting him.
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 32 of 58
                                                                    Page     166


 1                THE COURT:    How many of these individuals were

 2    present when all of these things allegedly occurred?           How many

 3    of these individuals were here throughout the trial to hear all

 4    of the evidence?

 5                MS. GAMBINO:    Your Honor, I don't know the answer to

 6    that question, but the important thing is what do you do --

 7                THE COURT:    I'm sorry.    You said I don't know what?

 8                MS. GAMBINO:    I don't know the answer to that

 9    question.    I don't know how many people were here during the

10    trial.   I don't know how many people were present.

11                THE COURT:    I was going to say you were here, but I

12    forgot this is the case where you came in later.

13                MS. GAMBINO:    Right.   I wasn't the lawyer at the

14    trial.

15          Your Honor, this is Duke's Indiana state champion belt

16    that he won as a young man, and he was on his way to becoming a

17    world champion boxer, and he could still pick up that thread

18    and pick up that trail if Your Honor imposes a sentence that is

19    reasonable in this case, a sentence of ten years and no more.

20          Mr. Tanner has already been in custody for nearly five

21    years, and he has suffered mightily during those five years as

22    has his family and his child.        His parents, each of them has

23    suffered strokes because of Mr. Tanner's absence and his

24    inability to help support his family the way he was doing when

25    he was boxing.     One of his parents had to go to a nursing home,
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 33 of 58
                                                                    Page     167


 1    and the other is taken care of by a family member, and it's not

 2    the choice of the family.      It's not what his parents would

 3    like.   They would prefer very much to be together, but because

 4    of the current circumstances and the financial condition of his

 5    family, they're not able to.

 6          If you were to allow Mr. Tanner to be released after a

 7    reasonable sentence, then he could be again involved in

 8    bringing his family back together and supporting them the way

 9    he did as a young man.

10          And you heard testimony from Mr. Lewis and various other

11    individuals about the importance of Mr. Tanner to his family,

12    and about the fact that he was moving his family forward, and

13    that he had a lot on his shoulders as a young man.           When you're

14    23 and 24 years old, the typical life experience of a 23 and

15    24-year old that I'm sure you're familiar with and that I'm

16    familiar with in my own family, is that the family is helping

17    support them.    It's not that they are helping support the

18    family, but Mr. Tanner went professional as a boxer early when

19    he was only 18 or 19 years old to help support his family.            He

20    had a lot on his shoulders for a young person, and he managed

21    it well.    He did his boxing.     He was going to school.      He was

22    getting a good education, and all of those things are not going

23    to be available to him while he's in custody.

24          Your Honor is supposed to think about the best way to get

25    a person the education and the medical treatment and things of
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 34 of 58
                                                                    Page     168


 1    that nature they need, and the best way for that to happen for

 2    Mr. Tanner is for him to be released sooner rather than later.

 3    And clearly he doesn't now present any threat to the society,

 4    to any individual, or any other person sufficient to justify

 5    sending him to prison for the rest of his life.

 6           For all of those reasons, and for all of the reasons that

 7    you heard from every person who testified before you, we're

 8    asking you to impose a sentence of ten years and no greater.

 9                THE COURT:    Ms. Rogers, would you get the microphone

10    and give it to Mr. Tanner?       I'm sorry.    I don't mean that

11    microphone.     This microphone there.      I apologize.

12           Mr. Tanner, I am going to ask you to bring it up close to

13    you.    Okay?

14                THE DEFENDANT:      Yeah.

15                THE COURT:    Just a few minutes.     Let your attorney

16    get back to you.

17                MS. GAMBINO:    Your Honor, I would like to ask that

18    the Government be permitted to go before Mr. Tanner, let him

19    have the last word.

20                THE COURT:    No.   We're not changing the rules,

21    Ms. Gambino.

22           Mr. Tanner, do you wish to make a statement on your own

23    behalf or present any information in mitigation of punishment?

24                THE DEFENDANT:      Yes, sir.

25                THE COURT:    Slowly and speak up.     Okay?
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 35 of 58
                                                                    Page     169


 1                THE DEFENDANT:    Yes.

 2                THE COURT:    You may.

 3                THE DEFENDANT:    First and foremost, I want to praise

 4    God and thank him for letting all you people, family and

 5    friends, be here today, and I want to say I'm sorry for putting

 6    you all through this.      All you guys know me.      You know my

 7    character.    I'm not this man that the Government is portraying

 8    me to be.    I hate the fact that you all are here instead of

 9    coming back here.

10          I'm hearing what Ms. Gambino said, what the judge said,

11    what was at trial.     To tell you honestly, most of these people

12    was here at trial.     I know you all saw the tape.       I did not

13    say those -- I never confessed anything to those agents about

14    admitting to anything.      I wanted to speak about what really

15    happened.    I'm sure all you guys want to know the truth, but I

16    got appeal issues or whatever, so I got to bite my tongue, as

17    I've been doing for five years.

18          I don't know what's going on.       I'm not a drug dealer.      I'm

19    a fighter, man, and I'm a family man.        I came up to change my

20    family, and I think I did that.       That's really all I could say

21    to you guys.    I didn't have nothing to write.        I was reading,

22    and Marcus said at the hour when we be lifted up, the holy

23    spirit going to talk to me and let it talk for me.           So I don't

24    have nothing to write down.       I just want you guys to continue

25    to believe in me as to who I am.
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 36 of 58
                                                                    Page     170


 1           As my father comes in now, I speak to all of you guys, but

 2    the rest I just want to let you all know that based upon this,

 3    Your Honor, what I done went through these last five years and

 4    seeing everything that I worked for break up -- my mom and dad

 5    was married for 39 years, and there's no amount of time that

 6    can change that they broke up, and I'm not there to fix it.

 7           I don't know what happened at trial.       I put it all in my

 8    first lawyer, and he didn't do nothing.

 9           And, Ms. Gambino, you told me I should not say some

10    things, but Nozick did say that he felt that the sentencing was

11    unfair.    I took it upon and let them come down and offered to

12    talk to me, and he said you was going to give me life, that if

13    I knew something about a police officer or something, but I

14    wasn't going to lie to get the time.        I don't know nothing to

15    tell nobody, and I don't know.       That's not my character.       I

16    don't have nothing to say.       I just know I'm not this person,

17    Your Honor.    I'm just not that person that they saying.         And I

18    know with my last name, how I grew up or whatever, but I've

19    wanted to change everything for everybody, and I might've got

20    caught in the mix of it, but I'm not a drug dealer, man.            I'm

21    not.    And when the truth will be brought out about this whole

22    situation, everybody going to know that I am the man that all

23    you guys thought.     And that I just want my Daddy to know I told

24    you when Mr. Weissman wanted me to go to college, and I said

25    that I'm going to turn pro now and move my family out of where
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 37 of 58
                                                                    Page     171


 1    I come from.    And I never meant for you to have to go through

 2    what you're doing.     And my Momma ain't here right now, but I

 3    tell her the same thing.

 4           And my son, he told me he didn't want to learn how to ride

 5    a bike because he wanted me to teach him and do it, and it's

 6    just not fair, Your Honor.       And I'm asking you -- it's nothing

 7    in jail.    I can go to jail and go back every day, but memories

 8    is important for my family and be there for my family.           I don't

 9    care about no jail.      I don't care about life.      My thing was to

10    change my family, man.      I'm not a product of my community.        I

11    refuse to be that, and I don't want to be labeled as that.            And

12    I'm just asking you all, like, please just -- you studied this

13    case, Your Honor, and I know you did, and, man, them guys, they

14    lying on me.    I'm not that.     They wanted me to be.      I'm not.

15    And I stand here today, and I'm just asking for you to have

16    mercy on me.    And I still ain't got to tell you all how I

17    really feel and what really happened, but I'm not no drug

18    dealer.    I just give it all to God right now.        You make your

19    decision, but I know what happened, and that's all I got to

20    say.

21                THE COURT:    Mr. Nozick, does the Government have any

22    comments or recommendations as to the sentence this Court

23    should impose?

24                MR. NOZICK:    Yes, Your Honor.     Thank you.

25           The Government outlined, Your Honor, in our sentencing
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 38 of 58
                                                                    Page     172


 1    memorandum the Government's position, and as you know, the

 2    Government's position is that the guidelines are reasonable and

 3    are just in this case.      This isn't a decision that we come to

 4    easily, and it's not a decision that we come to without a great

 5    amount of discussion amongst ourselves.

 6          In the end, Judge, what we believe carries the day, and

 7    what we believe makes the sentencing guidelines just in this

 8    case and reasonable in this case is the enormous, widespread,

 9    ongoing nature of the conspiracy.        It went on for years and

10    years.   We're not talking about one isolated episode, and it

11    involved multiple players, well over ten players, and it tore

12    apart the community, Judge, to be candid.         There was an

13    enormous amount of harm that was brought not just to the city

14    of Gary, but as you know, and as we heard testimony, these

15    drugs were being distributed in other spots in the state, going

16    down to Indianapolis, and I can't voice strongly enough the

17    harmful detrimental effect that cocaine has, both crack and

18    powder, on our communities.

19          You've already held are found by a preponderance that the

20    defendant was a leader, organizer of The Renegades.           I point

21    out were a violent street gang who absolutely wreaked havoc in

22    Gary, Indiana, and other parts of Northwest Indiana.

23                MS. GAMBINO:    Your Honor, I object to that

24    characterization.     There was no evidence at trial of that.

25    There was no evidence at the sentencing of that, and there has
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 39 of 58
                                                                    Page     173


 1    been no evidence that Mr. Tanner was ever involved in anything

 2    at all violent.

 3                THE COURT:    Objection is overruled.      I'll give it

 4    whatever weight I deem necessary.

 5                MR. NOZICK:    I would also like to focus on the

 6    massive quantity of narcotics distributed by The Renegades and

 7    specifically by this defendant.       Now, we can go back and forth

 8    on the credibility of the cooperating defendants.          A jury of

 9    Mr. Tanner's peers found them to be credible, Judge.

10          Now, the PSR puts roughly 7,800 kilos of powder cocaine on

11    the defendant.     You know, that is likely on the high side

12    because that's done simply doing math of how many kilos a week

13    and multiplying the years.       The fact to get to this level, all

14    we need is 150 or more kilos more of cocaine.          Mr. Tanner

15    probably gets to that point in three weeks of this conspiracy

16    or four weeks of this conspiracy.        I'm not here to relitigate

17    the quantities.     You've already made your rulings on that, but

18    suffice it to say that the quantities in this case are

19    startling, and that's just of powder cocaine.          Just going

20    through some of the things.       And Ms. Gambino, I believe,

21    misspoke when she said that the amounts that you found and the

22    statements you read came simply from proffers given by

23    cooperators that are trying to help themselves.          That's not

24    true, Judge.    Everything the Government put in their version of

25    the facts and their memo and response to the objection,
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 40 of 58
                                                                    Page     174


 1    everything we put to probation came straight from trial

 2    transcripts.    So she said these witnesses, you know, never

 3    testified under oath to these amounts, and it's just from their

 4    proffer, and it's not subject to cross-examination.           That's not

 5    true, Judge.    Everything that we put in our sentencing memo and

 6    everything that was in our Government version and our response

 7    to the objections was from the trial transcript with citations

 8    to the trial transcripts.      So Mr. Tanner's lawyer had ample

 9    opportunity to cross-examine these defendants on this testimony

10    and on the amounts, and obviously a jury found these witnesses

11    to be credible.

12          In addition, Judge, while Defense counsel disparages up

13    and down the quality and the truthfulness of the Government

14    witnesses, the flip defendants, the fact remains that the

15    defendant confessed in this case.        Now, he can sit here and say

16    that he didn't confess.      Yet FBI Agent Chris Allen, a decorated

17    FBI agent, testified to the defendant's own statement, and in

18    the defendant's own statement he puts massive amounts of

19    cocaine upon himself.

20          So Ms. Gambino can sit here, or stand here and say, Oh,

21    this is just a bunch of liars and flips trying to help

22    themselves, yet in doing so she's basically telling you FBI

23    Agent Chris Allen is a liar and perjured himself under oath in

24    order to convict this defendant.

25          Ms. Gambino discussed the fact that the Government, at
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 41 of 58
                                                                    Page     175


 1    some point in chambers, had said that they were going to

 2    recommend a 25-year sentence, and that is correct, Judge.            The

 3    Government had -- I've been instructed by the U.S. Attorney to

 4    request that sentence.      After some discussions with him, what

 5    this honorable Court did was ask for briefings on it.

 6    Ms. Gambino is incorrect in saying that I wouldn't put that on

 7    the record and was scared to put that on the record.           That's

 8    absolutely not true.      We have asked for below guideline

 9    sentences, and Mr. Capp absolutely would not be -- have any

10    concern about putting that in a filing and putting it on the

11    record.   What did happen wasn't us being scared of putting on

12    the record what I represented in court.         What happened was that

13    the Court asked for it to be briefed.        And in doing so, we had

14    further discussions, lengthy discussions with other members of

15    the office, other members of brass, people from different

16    offices, you know, within this jurisdiction and went through

17    every single element in the case and every single item in the

18    PSR, and after doing so came to the conclusion that the

19    guidelines were reasonable.       If after that conclusion we had

20    come -- if after the discussions we had said, "Let's still ask

21    for 25 years."     We would have put that in writing.        I would not

22    have batted an eyelash about putting in, requesting 25 years in

23    writing, and neither would Mr. Capp.        There's nothing out there

24    in the press, out there in the community that we're afraid of,

25    and if a 25-year sentence was what we had concluded after those
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 42 of 58
                                                                    Page     176


 1    further lengthy discussions, then that's what we would've

 2    requested.

 3          Mr. Tanner testified that there's a discussion that he and

 4    I had, and I asked him for -- you know, to cooperate.           That's

 5    absolutely correct.      I never would tell him exactly who he

 6    would have to give us information on.        It's the Government's

 7    belief, and it was the Government's belief that there was

 8    information that he had that could have assisted us.           We

 9    certainly have not rounded up every drug dealer in Gary.

10    Certainly it is our position that there may be police officers

11    that he had information on.

12                THE COURT:    "He" being Mr. Tanner?

13                MR. NOZICK:    "He" being Mr. Tanner.      And we didn't

14    say anything specific, but certainly I could represent that we

15    did not bring to justice and arrest everyone involved in this

16    large conspiracy.

17          So, yes, Judge, the Government did give him a chance to

18    cooperate, and obviously he has no obligation to.          Everyone has

19    their own code of ethics, code of conduct.         He chose not to,

20    and that is his right.

21          Defense counsel mentions a number of times the suffering

22    that his family has gone through, and I'm sure that's the case.

23    And I sincerely regret that they have gone through that,

24    although I would ask the Court to consider and Defense consider

25    that he, himself, put his family through that suffering, not
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 43 of 58
                                                                    Page     177


 1    FBI, not Grit, not Special Agent Chris Allen, and not myself.

 2    He's the person who made these decisions and put his family

 3    through that suffering.

 4          Finally, Judge, we've heard a ton of testimony about the

 5    defendant's great boxing prowess and boxing ability.           The

 6    Government does not dispute any of that, and it comes down, I

 7    think, to, Judge, sort of perhaps a philosophical difference

 8    and a jurisprudence difference on what weight, if any, this

 9    honorable Court should give that fact.         You've been on the

10    bench a long time, Your Honor; Ms. Gambino has practiced longer

11    than I, and I think we all realize that we hear arguments day

12    after day in these courts, here, federal court in Chicago,

13    state courts where lawyers say, "This kid never had a chance.

14    This kid never had a chance.       He was doomed from the start.       He

15    had no possible legitimate source of income.          He had no other

16    way to feed his family."      Basically saying his excuse is that

17    he really had no choices and opportunities other than criminal

18    conduct.    He had no way of making it other than selling drugs.

19          Of course, Judge, this Court I'm sure rejects those

20    arguments, and, you know, there's never an excuse for this

21    criminal conduct.     But a guy like Duke Tanner really had no

22    excuse because he had this fantastic God-given talent,

23    apparently from what we all hear, and he had all sorts of ways

24    to provide for his family and to be a productive member of the

25    community.
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 44 of 58
                                                                    Page     178


 1          So whereas with Ms. Gambino thinks him being a great boxer

 2    is an argument for him, I don't think that helps him at all,

 3    Judge.   And I've discussed this at great length with other

 4    members of my office.      If anything that weighs against him.

 5    Nobody has an excuse to sell drugs, but Mr. Tanner really had

 6    no excuse because he did have all these other opportunities,

 7    and he did have a way to provide for his family.          So,

 8    respectfully, I don't see any of the testimony about his boxing

 9    ability as weighing in his favor.

10          Based upon the arguments made, everything that we put in

11    our filings and arguments made today, Judge, I would argue, and

12    I do argue, that the life sentence found, or required under the

13    sentencing guidelines, is a fair and just sentence.           Thank you.

14                THE COURT:    Counsel, I'm going to recess right now

15    for lunch so I can look at the notes of what you said,

16    Ms. Gambino, and what Mr. Nozick said and what Mr. Tanner said.

17    I'll also look at a couple more things in the file.           I would

18    like for all of you to be back -- I want to give an hour, hour

19    and a half.      So if we start from right now, it takes us up to

20    1:45; is that correct?

21                MR. NOZICK:    Maybe 1:15.

22                THE COURT:    1:15.

23                MS. GAMBINO:    1:15 is an hour and a half.

24                THE COURT:    Okay.   I will say I want you back at

25    1:30.    Okay?
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 45 of 58
                                                                    Page     179


 1                MR. NOZICK:    Yes, Your Honor.

 2                THE COURT:    And I will finish the sentencing at that

 3    time.

 4          Marshals, you may take custody of the defendant.

 5          (Break.)

 6                THE COURT:    Mr. Nozick, are there any crime victims

 7    related to the crimes charged who are to be notified of their

 8    rights pursuant to the Justice of Law Act of the year 2004, as

 9    codified in Title 18, United States Code, Section 3771?

10                MR. NOZICK:    No, Your Honor.

11                THE COURT:    Mr. Tanner, the job I have right now is

12    not something that I enjoy.       Of all the things I have to do in

13    my job, this by far is the worst.        I don't enjoy telling grown

14    men that what they've done is bad.        I don't enjoy taking grown

15    men or women, it's not always the man, from their families.            I

16    don't enjoy putting grown men in institutions, but it's

17    something that I swore to do, and I've been at this for

18    approximately 22 years, Mr. Tanner.        It doesn't get easy.      It

19    doesn't get easier at all.       But I swore to do my job and to try

20    to do it as well as possible.       To some degree, I have to take a

21    look at all of the facts, not only here, not only with the

22    people that come here during the trial and that are presented,

23    I have to look at the arguments of counsel so eloquently had

24    given me in this case.

25          No question a lot of people like you, a lot of people feel
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 46 of 58
                                                                    Page     180


 1    very close to you.     That's good.     But I will say, Mr. Tanner,

 2    that that disappointments me.       It upsets me because you have

 3    betrayed in large part their trust in you.         I listened to the

 4    evidence, as I said, earlier in this case, and I think the jury

 5    got it right.    I think the evidence in this case was

 6    overwhelming.    Did the Government go and find some people with

 7    questionable past to testify?       Probably.    Did they go to the

 8    sewer to get some of these people?        I don't know if I want to

 9    go that far in this case, but they do in many cases, but,

10    Mr. Tanner, they do that because people who deal in drugs are

11    not in the church choir, are not up for sainthood, are not

12    leaders of the country.      You find them for that -- and I'm sure

13    you've heard of flop houses.       That's the lower end of the

14    thing.   But, again, you don't find these people in the better

15    places in a city.

16          In deciding a sentence for an individual, I have to

17    consider numerous things, Mr. Tanner.        What would be a fair

18    sentence.    That isn't easy.     A lot of people think that's

19    something that you just go out there and make a decision on or

20    take a dart and flip it at the board or do whatever you're

21    going to do.    I have to look at Congress's law and why they

22    pass it the way they did and how serious they consider it.            I

23    have to take a look at giving you a sentence that hopefully

24    will be a deterrent, not only to you but to society that this

25    is not acceptable and will not be tolerated, and if you lose,
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 47 of 58
                                                                    Page     181


 1    you lose big time.     I have to take a look at my duty towards

 2    society.    I've gone through the comments that you made earlier,

 3    and I was impressed with several things.         During this trial,

 4    Mr. Tanner, the one thing that kept coming back in my mind was

 5    quantity of drugs that were involved here and the period over

 6    which this conspiracy was lasting; even on a conservative

 7    basis, it was about five years, but the quantity was

 8    astronomical.    Why did I look at that?       Not because you have a

 9    big, fancy cross, and I know the testimony was that somebody

10    loaned it to you; not because you drive a fancy car or have a

11    good life.    I looked at a lot of that, Mr. Tanner, because

12    that's the harm that's being done to our society.          This garbage

13    is going out into the street, and oftentimes, albeit there was

14    no evidence directly in this case, it goes to our children.

15    Mr. Tanner, there's no reason for me to doubt that every one of

16    these individuals love you dearly and care for you, but who is

17    here today to answer for the people who got this garbage into

18    their veins?    Who ruined their lives?      Who won't be able to get

19    an education because they sold their souls and their life and

20    everything else for this garbage?        Who no longer have any pride

21    in their life?     Who is speaking up for them?

22          You say that you are not a drug dealer.         Mr. Tanner, I beg

23    to differ.    From the evidence that I heard during this trial,

24    it was very, very strong.      The things that you did and how you

25    handled it -- and I submit, Mr. Tanner, people don't give kilos
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 48 of 58
                                                                    Page     182


 1    of cocaine to somebody else to distribute unless, one, there's

 2    a high degree of trust, and; two, they're able to do it.

 3    They're able to distribute it.       If somebody gave me three kilos

 4    of cocaine, I would probably go put it in the corner in the

 5    living room and wouldn't know what the hell to do it.           They

 6    want somebody that knows how to distribute this garbage, and

 7    that, to me, was one of the pieces of evidence that also kept

 8    just flashing back and flashing back, when you reached in that

 9    car and grabbed that cooler what you thought was cocaine and

10    dealt with it.

11          Do I think that this is a serious crime?         No question

12    about it.    In 22 years I've seen life after life after life

13    ruined because of this garbage.       I've seen some people that

14    come to me because of the fact that they've been indicted, and

15    the reason that they're indicted is because they need it to put

16    in their veins because they're addicted to this thing, and I

17    spend thousands and thousands of dollars to send them up to

18    special programs, and you know what I'm told, Mr. Tanner?            Most

19    of them don't work.     Very, very sad.     But I try anything.      I

20    only say this, Mr. Tanner, because of the fact that I want to

21    impress upon everybody that this is a very serious crime.            I

22    sympathize with you, Mr. Tanner.        There's no question in my

23    mind you don't like that orange jumpsuit, and you never have

24    liked that orange jumpsuit, and I know you never will like it

25    either.   And I know you don't like being over at Porter County.
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 49 of 58
                                                                    Page     183


 1    You're at Porter County, in large part, because of continuances

 2    requested by your legal counsel, and you wanted to be close to

 3    legal counsel, and I understand that because they were

 4    assisting you.     This case should have been sentenced long ago,

 5    and you should have gone to an institution and gone on with

 6    your appeal on this case, which you have a right to do.           Again,

 7    one of the things that was commented on was that you were a

 8    first offender, and I really struggle with that.          I don't buy

 9    it.   And, again, I go to the quantity of drugs that are

10    involved in this case.      Maybe you never got caught before.

11    Maybe nobody ever, you know, put you in jail for this before,

12    but there's no doubt that the testimony, which I found very

13    credible during this trial, that you have done this numerous

14    times.   I've heard stories about your boxing career, and I

15    sincerely hope that you could come back and continue on with

16    your boxing career and could be a role model.          That's a long

17    way, though, because of the things that have occurred.           It

18    doesn't make you a bad person, Mr. Tanner.         You're a human

19    being, and I would use language that men would use between each

20    other, and I won't do it here because I can't.          You messed up.

21    Human beings mess up.      Do I think that even if you got out

22    today you could go back to boxing?        Maybe.   I have my doubts,

23    not because you're not a good boxer, Mr. Tanner.          I wouldn't

24    want to get in the ring with you because I have no doubt in my

25    mind that you're a lot better than I would ever be, but you're
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 50 of 58
                                                                    Page     184


 1    getting older and Father Time has a way -- I could be the first

 2    to talk about that -- to take away many of our strengths.

 3          Do I think that if I gave you the minimum in this case

 4    that that would send a loud message to serve as a deterrent?

 5    No, because even with large sentences, people continue to do

 6    it.   Hopefully that has some of a message that is there.           Plus

 7    you have another monkey on your back besides these drugs that I

 8    don't even know if you were hooked on drugs or not.           I

 9    shouldn't say you have a monkey on your back because you may

10    not be hooked on the drugs, and I am going to ask you,

11    Mr. Tanner, if you have a drug problem for your benefit

12    possibly.    You have gotten used to getting large sums of money.

13    I say that only because of the lifestyle that you talked about,

14    that cross full of diamonds that you were wearing, which I

15    still have doubts if that was a loan, and by the quantity of

16    drugs that were being involved.       Once you taste that money, it

17    had a big influence for you to go back and do it again.           I

18    certainly hope not, but I doubt that.        I think that is an

19    influence unfortunately.      Do I have any scientific proof on

20    that?   No, I don't.    It is what it is, and, you know, take it

21    for whatever it's worth.

22          You came and you talked about your spiritual support and

23    how involved you were in the churches, and that's a plus.

24    That's good.    I'm happy about that.      I'm happy -- in fact, I

25    said I don't necessarily consider you, as an individual, mean.
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 51 of 58
                                                                    Page     185


 1    You know, I don't see you going around and knocking kids off

 2    the sidewalk and pushing them into the garbage can or

 3    something, but I still look back at the facts in this case, and

 4    it appears that you were doing all of this while you were

 5    working at the church.      Is that a Dr. Jeckyl and Mr. Hyde?

 6    That's very possible.      So where I give you a plus, there's also

 7    a minus there.     And I don't see where your church involvement

 8    failed or prevented you from participating in the crimes at

 9    issue.

10          Mr. Tanner, the evidence today, or the comments today talk

11    about your being a loving father.        The jury is out on that

12    somewhat.    I only say that because of the fact that you were

13    doing these things while you had a child, and you know that

14    this could have happened to your child.         You still have time to

15    make amends and to get closer to that child.          The sentence in

16    this case by the guidelines, which I only consider as a factor,

17    is high, but I also take a look at the quantity of drugs that

18    you have responsibility for, and that is very, very high.            I

19    take a look at what your role was in this offense.           You were a

20    leader, and I look as to whether or not you were one of the

21    worst offenders in the laws of the United States, and I believe

22    that you were.     Do I want to protect society?       Do I want to

23    protect those kids?     I can't go to every school and try to

24    protect them, but maybe some of these sentences will send that

25    message out, "Not on my watch."       I want to protect society, and
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 52 of 58
                                                                    Page     186


 1    it needs protection because we only have to take a look at what

 2    a high number of the people get addicted to these drugs.

 3          Your attorney talked about education.        I'm not sure,

 4    Mr. Tanner, what educational prospects are offered by an

 5    institution.    I know there are some, and I know that if you

 6    apply, if you have the qualifications, you can get a degree.

 7    In some cases I've seen where they've gotten a degree or two

 8    degrees.    I look at this case, Mr. Tanner, and I look at the

 9    number of years that this conspiracy existed.          I looked at the

10    quantity of drugs that were passed.        I take a look at your role

11    in this offense.     I've taken a look at the 3553(a) issues as

12    well as what would be a deterrent, a fair sentence, an adequate

13    period time for rehabilitation, and I have decided upon the

14    following sentence, which I will read at this time.

15          Pursuant to Title 18, United States Code, Section 3551 and

16    3553, as modified by U.S. vs. Booker and Fanfan, it is the

17    judgment of the Court that the defendant, Charles Tanner, is

18    hereby committed to the custody of the Bureau of Prisons for a

19    term of life on each of the two counts, 2 and 3, to be served

20    concurrently.    Upon release from imprisonment, the defendant

21    shall be placed on supervised release for a term of 10 years.

22    This term consists of 10 years on each of Counts 2 and 3.            All

23    such terms to run concurrently.       Within 72 hours of release

24    from the custody of the Bureau of Prisons, the defendant shall

25    report in person to the probation office in the district to
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 53 of 58
                                                                    Page     187


 1    which this defendant is released.        While on supervised release,

 2    the defendant shall not commit another federal, state, or local

 3    crime; shall comply with the 15 standard conditions that have

 4    been adopted by this Court, and shall comply with the following

 5    additional conditions:      The defendant shall submit to one drug

 6    test within 15 days after being placed on supervised release

 7    and up to two periodic tests thereafter.         The defendant shall

 8    not illegally possess any kind of controlled substance.           The

 9    defendant shall not possess any kind of firearm or other

10    destructive device.     The defendant shall cooperate in the

11    collection of DNA as directed by the probation officer.           In

12    addition, the defendant shall comply with the following special

13    conditions:    The defendant shall participate in a drug and

14    alcohol aftercare treatment program under a copayment plan

15    which may include testing for the detection of drugs and abuse

16    at the direction and discretion of the probation officer.            The

17    defendant shall participate in a copayment program to offset

18    the cost of treatment.      The copayment amount is based on the

19    annual poverty guidelines established by the U. S. Department

20    of Health and Human Services on a sliding scale basis.           The

21    copayment amount shall not exceed an amount determined by the

22    probation department and probation officer's sliding scale for

23    monthly copayment.     While under supervision, the defendant

24    shall not consume alcoholic beverages or any mood-altering

25    substances which overrides the no excessive use of alcohol
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 54 of 58
                                                                    Page     188


 1    language in standard condition number seven.          It is further

 2    ordered that the defendant shall pay to the United States a

 3    special assessment of $200, which is due immediately.           It is

 4    further ordered that the defendant shall pay to the United

 5    States District Court Clerk's Office at 5400 Federal Plaza,

 6    Hammond, Indiana, a fine of $1,000.        The fine shall be paid in

 7    full immediately.     The defendant shall make fine payments from

 8    any wages earned in the prison, and, of course, with the Bureau

 9    of Prisons Financial Responsibility Program.          Any portion of

10    the fine that is not paid in full at the time of the

11    defendant's release from imprisonment shall become a condition

12    of supervision.

13          Counsel, was there a forfeiture count, or was there an

14    agreement regarding forfeiture?

15                MS. JACOBS:    Yes, Your Honor.     There was forfeiture,

16    and you've already issued final orders on those.

17                THE COURT:    That's taken care of already?

18                MS. JACOBS:    That's all taken care of.

19                THE COURT:    The guideline range in this case exceeds

20    24 months, and the reason for imposing the sentence set out the

21    sentence are as follows:      The guideline range for this case is

22    life imprisonment.     The Court is imposing a sentence of life

23    because of the nature of the crime, the height of quantity of

24    drugs involved, the damage to society, the adequate punishment,

25    an adequate deterrent, lack of remorse, and the defendant's
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 55 of 58
                                                                    Page     189


 1    leadership in this case and for the other reasons already

 2    enunciated.

 3          At this time, I'll ask both counsel if you know of any

 4    reason other than reasons already argued -- strike that.

 5          Ms. Gambino, I know there's a life sentence in this case.

 6    I don't know whether the defendant has a drug problem.           In the

 7    event that there should be a reduction of sentence, if he

 8    qualifies, are you asking that he be put in a drug

 9    rehabilitation program, and does he have a drug problem?            Does

10    he qualify?

11                MS. GAMBINO:    We would ask for the recommendation and

12    also for the recommendation that he be sentenced to a facility

13    in Indiana, but before that I would ask that you reconsider

14    this unjust, unreasonable, and excessive sentence.

15                THE COURT:    The only institution that I know of in

16    Indiana, a federal institution, is Terre Haute probably.

17                MS. GAMBINO:    That's correct.

18                THE COURT:    Any objection from the Government?

19                MR. NOZICK:    No objection.

20                THE COURT:    Court, one, recommends that in the event

21    he qualifies, that he be allowed to participate in a drug

22    rehabilitation program.      If he does have a monkey on his back,

23    I want it off.     It will make life much more better to live.

24                MS. GAMBINO:    It would give him a chance to have a

25    life, Your Honor, if you would reconsider this excessive
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 56 of 58
                                                                    Page     190


 1    sentence.

 2                THE COURT:    Ms. Gambino, I don't want to speak to

 3    you.    You made your point already.      That motion is denied.

 4           Okay.   This Court also orders that the defendant receive

 5    credit for time already served.

 6           Anything else that I missed?

 7                MS. GAMBINO:    I will ask you one final time, Your

 8    Honor, to reconsider an unjust, unreasonable, and excessive

 9    sentence.

10                THE COURT:    Mr. Tanner, you have heard the judgment

11    of the Court adjudging you guilty and imposing sentence upon

12    you.   Pursuant to Rule 32(a)(2) of the Federal Rules of

13    Criminal Procedure, I now advise you that you may have a right

14    to appeal your conviction of sentence in this case, and if you

15    wish to file an appeal and are not able to pay the cost of such

16    an appeal, you may apply for leave to appeal in forma pauperis,

17    which means that you may be able to pursue an appeal at no cost

18    to you.

19           Ms. Gambino, you are retained?

20                MS. GAMBINO:    Yes, and we will file a notice of

21    appeal this afternoon.

22                THE COURT:    Ms. Gambino, just answer the questions

23    that I'm asking you.      You can file whatever motions you want,

24    but I've got to get the answers to the questions I have.            Are

25    you retained?
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 57 of 58
                                                                    Page     191


 1                MS. GAMBINO:    Yes, I am retained.

 2                THE COURT:    Your retained counsel, of course, is

 3    authorized to initiate the appeal process, if you so desire.

 4          Ms. Gambino, I remind you of your duty to perfect a timely

 5    appeal of this sentence should your client wish to do so.

 6    Furthermore, pursuant to Circuit Rule 51, you are responsible

 7    for the continued representation of your client on appeal

 8    unless specifically relieved by the Court of Appeals upon a

 9    motion to withdraw.

10          Finally, all requests for appointment of appellate counsel

11    must be taken to the Court of Appeals.         This Court does not

12    have the power to entertain such requests.

13          With that, Counsel, is there anything further that need to

14    be done on this case at this time?

15                MS. GAMBINO:    Not at this time.

16                MR. NOZICK:    No, Your Honor.

17                THE COURT:    Marshals are ordered to take custody of

18    the defendant for sentence.

19          (Hearing concluded.)

20

21

22

23

24

25                           CERTIFICATE OF REPORTER
USDC IN/ND case 2:04-cr-00080-JTM-JPK document 788 filed 08/17/09 page 58 of 58
                                                                    Page     192


 1          I, Richard D. Ehrlich, a Registered Merit Reporter and

 2    Certified Realtime Reporter, certify that the foregoing is a

 3    true, complete, and accurate transcript of the proceedings

 4    ordered to be transcribed in the above-entitled case before the

 5    Honorable Rudy Lozano, in Hammond, Indiana, on May 26, 2009.

 6    s/Richard D. Ehrlich                    August 14, 2009
      _____________________________________________________________
 7    Richard D. Ehrlich, Official Reporter                    Date

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
